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                           Exhibit U
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Garner, Mallory (CRM)

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Sent:                     Tuesday, October 25, 2022 3:12 PM
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Attachments:              Form TCR - Supplement to                 - 10-25-2022.pdf




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